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                 EXHIBIT 
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                                     UNITED STATES DISTRICT COURT
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                                     NORTHERN DISTRICT OF ILLINOIS
 9                                         EASTERN DIVISION

10   JENNIFER OSSOLA, JOETTA                         Case No. 1:13-cv-04836
     CALLENTINE and SCOTT DOLEMBA,
11   on behalf of themselves and all others          CLASS ACTION
     similarly situated,
12
13                                   Plaintiffs,     DECLARATION OF ERIC ROBIN
                                                     RE: NOTICE PROCEDURES
14          v.

15   AMERICAN EXPRESS COMPANY,
     AMERICAN EXPRESS CENTURION
16   BANK, WEST ASSET MANAGEMENT,
     INC., and ALORICA INC.,
17
                                     Defendants.
18
19
     I, ERIC ROBIN, declare:
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            1.      I am a Senior Project Manager at Kurtzman Carson Consultants LLC ("KCC”). I am over
21
     21 years of age and am not a party to this action. I have personal knowledge of the facts set forth herein
22
     and, if called as a witness, could and would testify competently thereto.
23
            2.      KCC was retained by the parties to serve as the Claims Administrator to, among other
24
     tasks, mail the Notice of Class Action Lawsuit and Proposed Settlement (the “Postcard Notice”), e-mail
25
     the Notice of Class Action Lawsuit and Proposed Settlement (the “E-mail Notice”), receive and process
26
     Claim Forms, respond to Class Member inquiries; to establish and maintain a settlement website and
27
     perform other duties as specified in the Order (1) Conditionally Certifying Telemarketing Settlement
28



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                             DECLARATION OF ERIC ROBIN RE: NOTICE PROCEDURES
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 1   Class, (2) Preliminarily Approving Class Action Telemarketing Settlement, (3) Approving Notice Plan
 2   and (4) Setting Final Approval Hearing for Telemarketing Settlement (the “Preliminary Approval
 3   Order”) preliminarily approved by this Court on July 6, 2016.
 4          3.      Mailed Notice. On July 11, 2016, the Defendant provided KCC with a list of 795,410
 5   persons identified as the Class Member List, i.e. all persons nationwide within the United States who, on
 6   or after July 3, 2009 through March 15, 2016, received a telemarketing call from Alorica Inc. (or its
 7   agents or affiliates) on behalf of American Express, in connection with the marketing of American
 8   Express small business charge and/or credit cards to potential customers, to a cellular telephone number
 9   through the use of an automatic telephone dialing system, predictive dialer and/or an artificial or
10   prerecorded voice. KCC entered the Class Member List information into its proprietary database and
11   prepared a data file for the initial mailing. Prior to mailing, KCC caused the addresses in the Class
12   Member List to be updated using the National Change of Address database (“NCOA”) maintained by
13   the U.S. Postal Service. A total of 46,182 addresses were found and updated. Within the 795,410
14   records provided to KCC, KCC identified an additional 153,166 records containing different names and
15   addresses. These records were added to the Class List. KCC identified 107,009 duplicative records. Per
16   Counsel’s request, these duplicative records were removed from the Class List. In addition, KCC
17   identified 66 “test” or “dummy” records. Per Counsel’s request, these “test” and “dummy” records
18   were removed from the Class List. In addition, there were 15,224 records that did not have a mailing
19   address. As a result, these 15,224 records were not included in the mailing. KCC also identified 164
20   duplicative e-mail addresses. These duplicative e-mail addresses were not included in the e-mailing.
21          4.      On or around July 11, 2016, KCC facilitated reverse directory searches, through a vendor, to
22   find name and address information for any of the 51,306 phone numbers who did not have an associated
23   name or address. Of the 51,306 phone numbers searched, KCC received 30,973 names and addresses. KCC
24   updated the Class Member List with these 30,973 names and addresses.
25          5.      On August 3, 2016, KCC mailed a Postcard Notice to each of the persons on the Class
26   Member List who did not have an e-mail address. A sample of the Postcard Notice is attached hereto as
27   Exhibit A.
28          6.      On August 3, 2016, KCC e-mailed an E-Mail Notice to each of the persons on the Class



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                              DECLARATION OF ERIC ROBIN RE: NOTICE PROCEDURES
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 1   Member List who had an e-mail address. A sample of the E-Mail Notice is attached hereto as Exhibit B.
 2          7.      As of November 15, 2016, KCC has received a total of 5,262 Postcard Notices returned
 3   by the U.S. Postal Service with forwarding addresses. KCC caused the Class Member list to be updated
 4   with the new addresses and a Postcard Notice to be re-mailed to the updated addresses. In addition,
 5   171,336 Postcard Notices have been returned by the U.S. Postal Service without forwarding addresses.
 6          8.      Toll-Free Telephone Number. On or before August 3, 2016, KCC established a toll-free
 7   telephone number dedicated to answering telephone inquiries from Class Members. As of November 15,
 8   2016, KCC has received a total of 670 calls.
 9          9.      Website. On or before August 3, 2016, KCC also established a website
10   (www.TelemarketingTCPASettlement.com) dedicated to this settlement to provide additional
11   information to the Class Members and to answer frequently asked questions. Visitors of the website can
12   download a Long Form Notice, Claim Form and a variety of other court documents. Visitors can also
13   submit claims online. The web address was set forth in the Notice and Claim Form. As of November
14   15, 2016, the website has received 55,611 visits.
15          10.     Requests for Exclusion. The deadline for Class Members to request to be excluded from
16   the class was a postmarked deadline of October 3, 2016. As of the date of this declaration, KCC has
17   received five requests for exclusion. A list of the Class Members requesting to be excluded is attached
18   hereto as Exhibit C.
19          11.     Objections to the Settlement. The deadline for Class Members to object to the
20   Settlement was a postmarked deadline of October 3, 2016. As of the date of this declaration, KCC has
21   received no objections to the settlement.
22          12.     Claim Forms. The deadline for Class Members to file a claim was a postmarked
23   deadline of November 1, 2016. As of the date of this declaration, KCC has received 55,637 claims.
24          13.     Deficient Claim Forms. KCC is working with the parties to identify deficient claims.
25   Once these deficient claims have been identified, KCC will mail each potential Class Member a Notice
26   of Deficient Claim Form, which will inform the potential Class Member of why their claim is deficient,
27   and give the potential Class Member 30 days to cure their deficiency.
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                              DECLARATION OF ERIC ROBIN RE: NOTICE PROCEDURES
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 1   I declare under penalty of perjury pursuant to the laws of the State of California that the foregoing is true
 2   and correct to the best of my knowledge. Executed on this 16th day of November 2016 at San Rafael,
 3   California.
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 5                                                           ______________________________________

 6                                                           Eric Robin

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                              DECLARATION OF ERIC ROBIN RE: NOTICE PROCEDURES
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               Exhibit A
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        Case: 1:13-cv-04836 Document #: 368-2 Filed: 11/16/16 Page 8 of 13 PageID #:5586
What is this? This is a notice of a proposed settlement in a class action lawsuit, Ossola v. American Express Co., et al., U S D C , Northern District of
Illinois, Case No 13-cv-4836 This notice explains your legal rights
What is this lawsuit about? The lawsuit alleges that between July 3, 2009 and March 15, 2016, Alorica Inc (“Alorica”) used an automatic telephone
dialing system and/or an artificial or prerecorded voice to place non-emergency telemarketing phone calls to cell phones regarding the marketing of
American Express small business charge and/or credit cards to potential customers The lawsuit claims that these calls violated a law called the
Telephone Consumer Protection Act and were made without the prior express consent of the persons called American Express Company and
American Express Centurion Bank (together, “American Express”) deny these allegations and any wrongdoing The Court has not ruled on the merits
of Plaintiff’s claims or American Express’s defenses
Why am I getting this notice? You were identified as someone who may be a member of the Telemarketing Settlement Class
What does the settlement provide? American Express has agreed to pay a total of $8,250,000 into a Settlement Fund The Settlement Fund will pay
cash awards to Class Members who file a valid claim, pay Class Counsel’s attorneys’ fees and costs of up to $2,750,000 (subject to Court approval),
pay Plaintiff’s service award of $10,000 (subject to Court approval), pay settlement administration costs, and possibly pay a charitable contribution to
the Electronic Frontier Foundation in the amount of any uncashed checks
Can I get money from the settlement? Yes, each Class Member who submits a valid and timely Claim Form will receive a cash award How much
each Class Member receives will depend on how many people make claims that are approved Class Counsel estimates that the amount will be
at least $50.
How do I get a payment? You must complete and submit a valid Claim Form by November 1, 2016 The Claim Form is enclosed and available online
at www TelemarketingTCPASettlement com             You can also get a Claim Form mailed to you by calling the Settlement Administrator at
1-844-824-5799 You can submit your Claim Form by mailing it to the Settlement Administrator at the address below or online at
www TelemarketingTCPASettlement com
Do I have to be included in the settlement? If you don’t want to receive money from this settlement and you want to keep the right to sue or continue to
sue American Express on your own, then you must exclude yourself from the settlement You will not get any money from this settlement if you exclude
yourself The Court will exclude any Class Member who properly requests exclusion by sending a letter requesting exclusion to the Settlement
Administrator at the address on this postcard by October 3, 2016 at the address below That request must contain your name, address, signature and a
statement that you wish to be excluded from the settlement
If I don’t like something about the settlement, how do I tell the Court? If you don’t exclude yourself from the Telemarketing Settlement, you can
object to any part of the Telemarketing Settlement You must mail your written objection to the Court, Class Counsel and American Express’s counsel
by October 3, 2016 You may enter an appearance through an attorney if you wish, but you do not have to Complete details about how to object are on
the Settlement Website
What if I do nothing? You will not be eligible for a payment All Class Members who do not opt-out will be bound by the Telemarketing Settlement
and the decisions of the Court, and will release American Express and Alorica from liability for the calls
When is the Final Approval Hearing? The Court will hold a hearing in this case to consider whether to approve the Telemarketing Settlement on
November 30, 2016, at 1:30 p m , United States District Court, 219 South Dearborn Street, Chicago, Illinois, 60604 You may go to the hearing, but you do not
have to
How do I get more information about the settlement? This notice contains limited information about the Telemarketing Settlement For more
information, to view additional settlement documents, and to review information regarding your exclusion and objection rights and the Final Approval
Hearing, visit www TelemarketingTCPASettlement com, or call 1-844-824-5799
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               Exhibit B
           Case: 1:13-cv-04836 Document #: 368-2 Filed: 11/16/16 Page 10 of 13 PageID #:5588
From:        Claims Administrator
To:          «First1» «Last1»
Subject:     Notice of Class Action Lawsuit

           NOTICE OF CLASS ACTION LAWSUIT AND PROPOSED SETTLEMENT
    THE COURT AUTHORIZED THIS NOTICE. THIS IS NOT A SOLICITATION FROM A LAWYER.

                           YOU MAY RECEIVE MONEY FROM A SETTLEMENT.

x   If you received automated telephone calls from Alorica about marketing of American Express small
    business charge cards on your cell phone between July 3, 2009 through March 15, 2016, your rights
    may be affected by this class action settlement.

x   Plaintiff claims that these calls were improper. The court has not decided who is right or wrong.
    Instead the parties have agreed to settle the case to avoid the risk and cost associated with further
    litigation.

x   Eligible Class Members who submit a valid Claim Form will receive a payment from the $8,250,000
    settlement fund.

x   Go to www.TelemarketingTCPASettlement.com for more details.

What is this? This is a notice of a proposed settlement in a class action lawsuit, Ossola v. American Express
Co., et al., U.S.D.C., Northern District of Illinois, Case No. 13-cv-4836. This notice explains your legal
rights.

What is this lawsuit about? The lawsuit alleges that between July 3, 2009 and March 15, 2016, Alorica Inc.
(“Alorica”) used an automatic telephone dialing system and/or an artificial or prerecorded voice to place non-
emergency telemarketing phone calls to cell phones regarding the marketing of American Express small
business charge and/or credit cards to potential customers. The lawsuit claims that these calls violated a law
called the Telephone Consumer Protection Act and were made without the prior express consent of the
persons called. American Express Company and American Express Centurion Bank (together, “American
Express”) deny these allegations and any wrongdoing. The Court has not ruled on the merits of Plaintiff’s
claims or American Express’s defenses.

Why am I getting this notice? You were identified as someone who may be a member of the Telemarketing
Settlement Class.

What does the settlement provide? American Express has agreed to pay a total of $8,250,000 into a
Settlement Fund. The Settlement Fund will pay cash awards to Class Members who file a valid claim, pay
Class Counsel’s attorneys’ fees and costs of up to $2,750,000 (subject to Court approval), pay Plaintiff’s
service award of $10,000 (subject to Court approval), pay settlement administration costs, and possibly pay a
charitable contribution to the Electronic Frontier Foundation in the amount of any uncashed checks.

Can I get money from the settlement? Yes, each Class Member who submits a valid and timely Claim
Form will receive a cash award. How much each Class Member receives will depend on how many people
make claims that are approved. Class Counsel estimates that the amount will be at least $50.

How do I get a payment? You must complete and submit a valid Claim Form by November 1, 2016. The
Claim Form is available online at www.TelemarketingTCPASettlement.com. You can also get a Claim Form
mailed to you by calling the Settlement Administrator at 1-844-824-5799. You can submit your Claim Form
by mailing it to the Settlement Administrator at the address below or online at
www.TelemarketingTCPASettlement.com.
                                                                                                        AXONTE1
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Do I have to be included in the settlement? If you don’t want to receive money from this settlement and
you want to keep the right to sue or continue to sue American Express on your own, then you must exclude
yourself from the settlement. You will not get any money from this settlement if you exclude yourself. The
Court will exclude any Class Member who properly requests exclusion by sending a letter requesting
exclusion to the Settlement Administrator at the address on this postcard by October 3, 2016 at the address
below. That request must contain your name, address, signature and a statement that you wish to be excluded
from the settlement.

If I don’t like something about the settlement, how do I tell the Court? If you don’t exclude yourself
from the Telemarketing Settlement, you can object to any part of the Telemarketing Settlement. You must
mail your written objection to the Court, Class Counsel and American Express’s counsel by October 3, 2016.
You may enter an appearance through an attorney if you wish, but you do not have to. Complete details about
how to object are on the Settlement Website.

What if I do nothing? You will not be eligible for a payment. All Class Members who do not opt-out will
be bound by the Telemarketing Settlement and the decisions of the Court, and will release American Express
and Alorica from liability for the calls.

When is the Final Approval Hearing? The Court will hold a hearing in this case to consider whether to
approve the Telemarketing Settlement on November 30, 2016, at 1:30 p.m., United States District Court, 219
South Dearborn Street, Chicago, Illinois, 60604. You may go to the hearing, but you do not have to.

How do I get more information about the settlement? This notice contains limited information about the
Telemarketing Settlement. For more information, to view additional settlement documents, and to review
information regarding your exclusion and objection rights and the Final Approval Hearing, visit
www.TelemarketingTCPASettlement.com, or call 1-844-824-5799.




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                Exhibit C
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KCC Class Action Services
American Express v Ossola (Telemarketing Settlement)
Exclusion Report


     Count
       5

    ClaimID                Last1                First1
